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                                  U.S. Department of justice

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Suite 700
Madison, Wis @ ns i n 5 3 7 0 3

                                                    November 9, 2015

Attorney Gregory Dutch
119 Martin Luther King Jr. BIvd
Suite 202
Madison,        WI     53703

           Re         United Stntes zt. United States tt. Anmclou Camara
                      Case No. 15-cr-54-wmc

Dear Attorney Dutch:

        This is the proposed plea agreement between the defendant and the United
States in this case.

           1.  The defendant agrees to waive indictment and plead guilty to the one
count information filed by the United States Attorney's Office. This count charges a
violation of Title 21, United States Code, Section 846, which carries maximum penalties
of 20 years in prison, a $1,000,000 fine, at least a 3-year period of supervised release and
a $100 special assessment. In addition to these maximum penalties, any violation of a
supervised release term could lead to an additional term of imprisonment pursuant to
i8 U.S.C. S 3583. The defendant agrees to pay the special assessment at or before
sentencing. The defendant understands that the Court will enter an order pursuant to
18 U.S.C. S 3013 requiring the immediate payment of the special assessment. In an
appropriate case, the defendant could be held in contempt of court and receive an
additional sentence for failing to pay the special assessment as ordered by the Court.

          2.  The defendant acknowledges, by pleading guilty, that he is giving up the
following rights: (a) to plead not guilty and to persist in that plea; (b) to a jury trial; (c)
to be represented by counsel--and if necessary have the Court appoint counsel--at trial
and at every other stage of the trial proceedings; (d) to confront and cross-examine
adverse witnesses; (e) to be protected from compelled self-incrimination; (0 to testify
and present evidence; and (g) to compel the attendance of witnesses.

          3.   The defendant understands that upon conviction, if he is not a United
States citizeru he mav be removed from the United States, denied citizenship, and
denied future admission to the United States. The defendant nevertheless affirms that
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he wants to plead  guilty regardless of any removal and immigration consequences that
his plea may entail, even if the consequence is automatic removal from the United
States.

          4.  The defendant agrees to recommend that the Court, in calculating the
advisory sentencing guidelines, increase the offense level by two levels under USSG
S3B1, based on defendant's aggravated role in the offense. The United States is free to
recommend an increase of up to four levels based on the defendant's aggravated role in
the offense.

          5.   The United States agees to recommend that the Court, in computing the
advisory Sentencing Guideline range, and in sentencing the defendant, give the
defendant the maximum available reduction for acceptance of responsibility. This
recommendation is based upon facts currently known to the United States and is
contingent upon the defendant accepting responsibility according to the factors set forth
in USSG S 3E1.1. The United States rs free to withdraw this recommendation if the
defendant has previously engaged in any conduct which is unknown to the United
States and is inconsistent with acceptance of responsibility, or if he engages in any
conduct between the date of this plea agreement and the sentencing hearing which is
inconsistent with acceptance of responsibility.

          6.  The United States agrees that this guilty plea will completely resolve all
possible federal crirrrinal violations that have occurred in the Western District of
Wisconsin provided that both of the following conditions are met: (a) the criminal
conduct relates to the conduct described in the information; and (b) the criminal
conduct was known to the United States as of the Cate of this plea agreement. This
agreement not to prosecute is limited to those types of cases for which the United States
Attorney's Office for the Western District of Wisconsin has exclusive decision-making
authority. The defendant also understands that the United States will make its full
discovery file available to the Probation Office for its use in preparing the presentence
report. The United States also agrees to move to dismiss the indictment at the tirne of
sentencing.

          7.    The defendant agrees to complete the enclosed financial statement and
return it to this office within one week of the guilty plea hearing. The defendant also
authorizes the U.S. Attorney's Office to run the defendant's credit report. The
delendant also agrees that the probation office may disclose to the United States the net
worth and cash flow statements to be completed by the defendant in connection with
the preparation of the presentence report, together with all supporting documents.

        8. In the event of an appeal by either party, the United States reserves the
right to make arguments in support of or in opposition to the sentence imposed by the
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Court

       9. The defendant understands tlat sentencing discussions are not part of the
plea agreement. The defendant should not rely upon the possibility of a particular
sentence based upon any sentencing discussions between defense counsel and the
United States.

         10.  If your understanding of our agreement conforms with mine as set out
above, would you and the defendant please sign this letter and return it to me. By his
signature below, the defendant acknowledges his understanding that the United States
has made no promises or guarantees regarding the sentence which will be imposed.
The defendant also acknowledges his understanding that the Court is not required to
accept any recommendations which may be made by the United States and that the
Court can impose any sentence up to and including the maximum penalties set out
above.

       11. By your signatures below, you and the defendant also acknowledge that
this the only plea agreement in this case.
    is

         12.     All plea agreements must
                                       be approved by the United States Attorney or
his designee. This plea proposal has not yet been approved. Consequently, I have not
signed this proposed plea agreement and the final acceptance is conditioned upon
supervisory approval. If you have any questions or need any additional information,
please feel free to contact me'
                                          very truly vours,

                                            ]OHNW. VAUDREUIL
                                            United States Attorney


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Date                                        ROBERT A. ANDERSON
                                            Assistant United States Attomey

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GREGOR         DUTCH                        Date
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   ftmadou Camara                                  11t12t15
AMADOUCAMARA                                Date
Defendant
